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                      EXHIBIT 14
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                                                          -                                                                   3

               MICHELE MEAGER                                 1             MICHELE MEAGER
                                                              2                  INDEX
          IN THE UNITED STATES DISTRICT COURT                 3
                                                                   WITNESS                          PAGE
             DISTRICT OF MASSACHUSETTS
                                                              4
       In re: NEURONTIN            MDL Docket                      MICHELE MEAGER
                                                              5
       MARKETING, SALES PRACTICES             No. 1629                   Direct by Mr. Cohen          5
                                                              6          Cross by Ms. Seaton           57
       AND PRODUCTS LIABILITY             Master File
                                                                         Redirect by Mr. Cohen            59
       LITIGATION               No. 04-10981                  7
                                                              8    Reporter's certificate            61
                          Judge Patti Saris                   9
                                                              10                 -oOo-
                          Magistrate Judge                    11
                                                              12
                          Leo T.Sorokin
                                                              13
       ---------------                                        14
                                                              15
             Confidential telephonic deposition of            16
                                                              17
       MICHELE MEAGER, taken by and before Fred W.
                                                              18
       Jeske, a certified shorthand reporter and notary       19
                                                              20
       public of the State of Tennessee, held at the          21
                                                              22
       Conference Room C of the Courtyard by Marriott,        23
                                                              24
       170 Fourth Avenue North, Nashville, Tennessee.
                                                              25



                                                          2                                                                   4

   1         MICHELE MEAGER                                   1             MICHELE MEAGER
   2   APPEARANCES:                                           2          The telephonic deposition of MICHELE
   3
                                                              3    MEAGER, taken on Friday, March 21, 2008, at 170
   4   Attorneys for Personal Injury Plaintiffs:
   5         FINKELSTEIN & PARTNERS                           4    4th Avenue North, Nashville, Tennessee, for all
             80 Wolf Road                                     5    purposes under the Federal Rules of Civil
   6         Suite 503                                        6    Procedure.
             Albany, New York 12205
                                                              7          The formalities as to notice, caption,
   7         BY: STEVE COHEN, ESQ. via telephone
   8                                                          8    certificate, et cetera, are waived. All
       Attorneys for Defendant Pfizer:                        9    objections, except as to the form of the
   9                                                          10   questions, are reserved to the hearing.
             SHOOK, HARDY & BACON, LLP
                                                              11         It is agreed that Fred W. Jeske, being
  10         2555 Grand Boulevard
             Kansas City, Missouri 64108-2613                 12   a Notary Public and Court Reporter for the State
  11         BY: ANGELA M. SEATON, ESQ.                       13   of Tennessee, may swear the witness, and that
                IAN C. LOSASSO, ESQ.                          14   the reading and signing of the completed
  12
                                                              15   deposition by the witness are waived.
  13
  14                -oOo-                                     16
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                                                          17                                                                  19

   1            MICHELE MEAGER                                 1              MICHELE MEAGER
   2   Neurontin in 2004.                                      2    Neurontin for.
   3   Q.      Okay. Do you remember as you sit here           3    Q.       All right. Who made that decision as
   4   today what indications Neurontin was approved           4    to what type of doctor you would be detailing
   5   for in early 2004?                                      5    Neurontin to?
   6   A.      Epilepsy.                                       6    A.      I worked for the part-time division
   7   Q.      That it?                                        7    that only called on internal medicine and
   8   A.      Correct.                                        8    primary care physicians.
   9   Q.      Are you aware or were you aware or              9    Q.       Okay. All right. Did you ever
  10   were you -- let's do it this way. Were you              10   discuss off-label use of Neurontin with any
  11   aware in 2004 that using it or detailing it for         11   doctor you ever serviced?
  12   other treatments that were not approved is              12   A.      No.
  13   considered an off-label use?                            13   Q.       Were you ever asked about Neurontin's
  14   A.      Yes.                                            14   association with adverse psychiatric experiences
  15   Q.      Okay. Were there other teams of sales           15   by any doctor you detailed?
  16   reps in your area, or was this solely your              16   A.      No.
  17   territory in early 2004?                                17             MS. SEATON: Hold on just a second.
  18   A.      I was the part-time territory rep, and          18                 I just heard a beep. Did
  19   I don't remember if the full-time reps had              19        somebody join?
  20   Neurontin. I don't remember.                            20             MR. COHEN: That's just some other
  21   Q.      Who was the full-time rep?                      21        line ringing in here, I think.
  22   A.      I don't remember their names.                   22             MS. SEATON: Oh, okay.
  23   Q.      Okay. Were there any other part-time            23             MR. COHEN: Okay. All right.
  24   reps?                                                   24   BY MR. COHEN:
  25   A.      No.                                             25   Q.       Did you ever advise any doctor about



                                                          18                                                                  20

   1            MICHELE MEAGER                                 1              MICHELE MEAGER
   2   Q.      All right. So it was one full-time              2    these adverse events?
   3   rep and you covering that geographic area?              3    A.      No.
   4   A.      Well, back then it was probably nine            4              MS. SEATON: Objection.
   5   Pfizer representatives and myself, but everybody        5                  Wait. Give a little bit of
   6   had different drugs.                                    6         pause just so I can say "objection to
   7   Q.      Okay. So you were the only one that             7         form," and then you can go ahead and
   8   was detailing Neurontin.                                8         answer.
   9   A.      I think so.                                     9              THE WITNESS: Okay.
  10   Q.      Okay. Now what types of specialties             10                 Can you repeat the question?
  11   of doctors would Neurontin be detailed to in            11             MR. COHEN: Yes.
  12   early 2004?                                             12   BY MR. COHEN:
  13   A.      Prime --                                        13   Q.       Did you ever advise any doctor about
  14            MS. SEATON: Objection. Objection.              14   adverse psychiatric events or experiences?
  15                 You can answer.                           15   A.      No.
  16   A.      Primary care or internal medicine.              16   Q.       Okay. All right. Were you ever
  17             Any doctor that would see an                  17   informed about lawsuits relating to Neurontin
  18   epileptic patient.                                      18   and suicides?
  19   BY MR. COHEN:                                           19   A.      No.
  20   Q.      Okay. And again it was for epilepsy             20   Q.       Were you ever provided with documents
  21   only?                                                   21   by your company that allowed for a scripted or
  22   A.      Correct.                                        22   standard response to inquiries from
  23   Q.      All right. Do you know if Neurontin             23   doctors regarding Neurontin and suicide?
  24   was detailed to other specialists as well?              24   A.      No. Never.
  25   A.      I don't know. I know what I detailed            25   Q.       All right. Did you ever work for




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                                                          21                                                                   23

   1              MICHELE MEAGER                               1              MICHELE MEAGER
   2   Warner-Lambert?                                         2    Q.      Okay. Would it have been only
   3   A.      No.                                             3    Neurontin?
   4   Q.      Okay. Now, do you recall detailing a            4    A.      I don't remember.
   5   Dr. Richard Goldman in Wellesey, Massachusetts          5    Q.      All right. Do you know what else you
   6   in 2004?                                                6    might have been detailing to him at that time --
   7   A.      Yes.                                            7             MS. SEATON: Objection.
   8   Q.      All right. Do you, as you sit there             8    BY MR. COHEN:
   9   today, have any idea when the first time you            9    Q.      -- if anything? Were there any other
  10   detailed him was?                                       10   drugs you might have detailed to Dr. Goldman on
  11   A.      No.                                             11   January 8th, 2004?
  12   Q.      Do you have any documents in front of           12   A.      Zoloft and Aricept.
  13   you that might refresh your recollection?               13   Q.      Okay. Now, on the second page there
  14   A.      I know I detailed him in 2004.                  14   is an indication that some product was, was left
  15   Q.      All right. I have some call sheets,             15   with him; is that correct?
  16   or one call sheet, and then another page talking        16   A.      Yes.
  17   about some, some product that was left. Do you          17            MS. SEATON: Objection.
  18   have those there at all?                                18                 I just want to be clear,
  19   A.      Yes. My, my -- can I ask him? Is it             19        Steve. We only have -- she's looking at a
  20   just if I detailed them in 2004?                        20        one-page sheet in front of her.
  21   Q.      Well, I have a page here that talks             21            MR. COHEN: It may just be that it
  22   about four visits from January of '04 through           22        printed out on two sheets here.
  23   April of '04, and then dates that product was           23            MS. SEATON: Oh, okay.
  24   left. That's what I'm looking -- that was               24            THE WITNESS: It's this part.
  25   provided by your attorneys, I believe.                  25



                                                          22                                                                   24

   1              MICHELE MEAGER                               1              MICHELE MEAGER
   2   A.      Yes, I have this.                               2    BY MR. COHEN:
   3            MS. SEATON: Just a second.                     3    Q.      On the bottom maybe of that one sheet,
   4                 Steve, I just heard someone.              4    does it indicate that Neurontin was left with
   5        Did someone join?                                  5    him on January 8th of 2004?
   6            MR. COHEN: No. I think it may                  6             MS. SEATON: You can answer.
   7        be -- what happens is when someone tries           7    A.      No. It says I detailed with starters.
   8        to call here on this number, it may beep           8    It does not say what medication was left.
   9        and ring over into another line, so don't          9    BY MR. COHEN:
  10        worry about it.                                    10   Q.      Okay. My, my sheet says call date
  11            MS. SEATON: Okay.                              11   1/8/2004. There is a call I.D. number, and then
  12   A.      Yes, I have that sheet in front of me.          12   it says: Formulation Neurontin, 300 milligrams
  13   BY MR. COHEN:                                           13   times three, quantity 18. Do you have that
  14   Q.      Okay. As you look at that sheet, do             14   data?
  15   you see that your first visit to Dr. Richard            15   A.      No.
  16   Goldman was January 8th, 2004?                          16   Q.      Okay. If I indicate -- if I told you
  17   A.      Yes.                                            17   that the materials provided by your counsel
  18   Q.      All right. Do you have any documents            18   pursuant, pursuant to our request indicate that
  19   anywhere that show if you were there before             19   on January 8th Neurontin, 300 milligrams times
  20   that?                                                   20   three quantity 18 was detailed or left with
  21   A.      No.                                             21   Dr. Goldman, would you have any reason to
  22   Q.      All right. And can you tell what drug           22   disagree with that?
  23   or drugs you were detailing or would have               23   A.      No.
  24   detailed to him from that sheet?                        24   Q.      Would you have been the one that would
  25   A.      No.                                             25   have left the drugs with him?




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